
Green, J.
delivered the opinion of the court.
This is an action of covenant upon a writing obligatory, executed by the defendant to the plaintiff, for five thousand five hundred dollars, in current bank notes.
The first plea of the defendant alleges, that before the commencement of the suit, the plaintiff assigned the said covenant to one George H. Wyatt, and delivered the covenant to him, and that he is the true and legal owner and possessor thereof. To this plea, the plaintiff demurred.
There were several other pleas to which there were demurrers; some of which were overruled, and some of them sustained; but it is unnecessary to notice any of them, as the decision in the cause must turn upon the question which is raised upon the first plea above set out. The court gave judgment for the defendant, from which the plaintiff appealed in error to this court.
The plea in this case states, that the covenant was assigned to Wyatt, and delivered to him, and thus sets out an endorsement in full. In such case the legal interest of the payee is transferred to the person named in the assignment. Chitty on Bills, 116, 117, 118: 15 John. Rep. 249.
It is true, this does not preclude the legal owner from sueing in *354the name of the payee for his benefit. 11 John. Rep. 52: 15 Wendell Rep. 640. But it must appear that the suit is for the benefit of the legal owner. And that fact should have been replied to in the defendant’s plea, and would have constituted a good answer to it, 11 Wend. Rep. 27: 15 Wind. Rep. 641. But instead of replying, the plaintiff has chosen to demur. The fact is thus admitted, that the plaintiff has no interest in the covenant sued on; and we are left to the inference, that he is prosecuting the suit for his own benefit. This cannot be done. 11 Wend. Rep. 27: 15 Wend. Rep. 641.
The judgment must be affirmed.
